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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:03CR163
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )                    ORDER
                                            )
JORGE A. ARONJA-INDA,                       )
                                            )
                    Defendant.              )

      This matter is before the Court on the Defendant’s motion for reconsideration of the

Court’s previous order summarily denying his Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence (Filing No. 138).

      IT IS ORDERED that the Defendant’s motion to reconsider (Filing No. 138) is

denied.

      DATED this 16h day of July, 2007.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
